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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA




    PATRICK GAYLE, et al.                                                Case No. 20cv21553

    Petitioners,

    v.

    MICHAEL W. MEADE,
    Field Office Director, Miami Field Office, U.S.
    Immigration and Customs Enforcement et al.,

    Respondents.

    ______________________________________________

                      DECLARATION OF ACTING OFFICER IN CHARGE
                                 LIANA J. CASTANO

    I, Liana J. Castano, Acting Officer in Charge (OIC), make the following statements under oath and
    subject to the penalty of perjury:

           1. I am employed by U.S. Department of Homeland Security (DHS), Immigration and
              Customs Enforcement (ICE), and currently serve as the Acting OIC of the Krome
              Service Processing Center (Krome). I am also an Assistant Field Office Director
              (AFOD) at Krome. I have held this position since September 2, 2018.

           2. I provide this declaration based on my personal knowledge, belief, reasonable inquiry,
              and information obtained from various records, systems, databases, other DHS
              employees, employees of DHS contract facilities, and information portals maintained
              and relied upon by DHS in the regular course of business. This declaration responds to
              Item 4(b) of the court’s order of June 5, 2020 and is applicable to Krome, Broward
              Transitional Center (BTC), and Glades County Detention Center (Glades).

           3. In accordance with the June 5, 2020 order item 4b, ICE shall submit weekly
              documentation demonstrating our evaluation of each prospective transfer. During the
              6/26/2020 – 07/02/2020 reporting period, ICE transferred a total of 28 detainees, as
              follows:
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                 KROME

                 a. 3 detainees were transferred to be staged for a scheduled removal flight.
                 b. 14 detainees were transferred from Krome to Glades County Detention Center
                    based on risk classification and bed space needs after a custody re-evaluation.

                 BTC:

                 a. 7 detainees were transferred from BTC to Krome based upon risk
                    classification and bed space needs after a custody re-evaluation.

                 Glades:

                 a. 4 detainees were transferred from Glades County Detention Center to Krome
                    based upon risk classification and bed space needs after a custody re-
                    evaluation.

          4. Each detainee was issued a new mask prior to transfer.

          5. A pre-transfer custody review, as well as a COVID-19 checklist, is attached for each
             detainee referenced above, in accordance with the court’s order.



                                                            Digitally signed by LIANA J CASTANO
                                                            Date: 2020.07.07 13:10:10 -04'00'
    DATED: July 7, 2020                _____________________________________
                                       Liana J. Castano
                                       Assistant Field Office Director
                                       Enforcement and Removal Operations
                                       U.S. Immigration and Customs Enforcement
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                             PRE-Transfer Custody Review

    ROBELO SANCHEZ, NOEL
Name_________________________ Alien Number                  730
                                                            _______    Nicaragua
                                                                    COC____________
                06/30/2020
Date of Transfer__________________                               07/01/2020
                                                   Date of Review__________________

                                    Detention Authority
    ,1$2           ,1$236 D      ✔ ,1$236 F        ,1$241        2WKHUBBBBBBBB

&29,'5LVN)DFWRUV                  Yes ✔           No

&ULPLQDO+LVWRU\                       Yes ✔           No


                                     Nature of Transfer

,$2)OLJKW6WDJLQJ
+RVSLWDO
:LWKLQ)LHOG2IILFH      ✔
2XWRI)LHOG2IILFH
2WKHU                             Comments__________________________________________
____________________________________________________________________________


Custody Decision Release               Continue Custody ✔


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                             PRE-Transfer Custody Review

    MARTINS DE SOUZA, DOUGLAS Alien Number
Name_________________________                               511
                                                            _______     Brazil
                                                                    COC____________
                06/29/2020
Date of Transfer__________________                               06/30/2020
                                                   Date of Review__________________

                                    Detention Authority
    ,1$2           ,1$236 D      ✔ ,1$236 F        ,1$241        2WKHUBBBBBBBB

&29,'5LVN)DFWRUV                  Yes ✔           No

&ULPLQDO+LVWRU\                       Yes ✔           No


                                     Nature of Transfer

,$2)OLJKW6WDJLQJ
+RVSLWDO
:LWKLQ)LHOG2IILFH      ✔
2XWRI)LHOG2IILFH
2WKHU                             Comments__________________________________________
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Custody Decision Release               Continue Custody ✔


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                                     Miami Field Office


                             PRE-Transfer Custody Review

    Smith, Henry Livingston
Name_________________________ Alien Number                  425
                                                            _______     Bahamas
                                                                    COC____________
                06/29/2020
Date of Transfer__________________                               06/30/2020
                                                   Date of Review__________________

                                    Detention Authority
    ,1$2           ,1$236 D      ✔ ,1$236 F        ,1$241        2WKHUBBBBBBBB

&29,'5LVN)DFWRUV                  Yes ✔           No

&ULPLQDO+LVWRU\                       Yes ✔           No


                                     Nature of Transfer

,$2)OLJKW6WDJLQJ
+RVSLWDO
:LWKLQ)LHOG2IILFH      ✔
2XWRI)LHOG2IILFH
2WKHU                             Comments__________________________________________
____________________________________________________________________________


Custody Decision Release               Continue Custody ✔


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                                     Miami Field Office


                             PRE-Transfer Custody Review

    Anelmo Da Silva, Edimilson
Name_________________________  Alien Number                 512
                                                            _______     Brazil
                                                                    COC____________
                06/30/2020
Date of Transfer__________________                               07/01/2020
                                                   Date of Review__________________

                                    Detention Authority
    ,1$2           ,1$236 D      ✔ ,1$236 F        ,1$241        2WKHUBBBBBBBB

&29,'5LVN)DFWRUV                  Yes ✔           No

&ULPLQDO+LVWRU\                       Yes ✔           No


                                     Nature of Transfer

,$2)OLJKW6WDJLQJ
+RVSLWDO
:LWKLQ)LHOG2IILFH      ✔
2XWRI)LHOG2IILFH
2WKHU                             Comments__________________________________________
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Custody Decision Release               Continue Custody ✔


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                           PRE-Transfer Custody Review

Name_________________________ Alien Number_           ________ COC____________
Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
____________________________________________________________________________


Custody Decision Release          Continue Custody


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                           PRE-Transfer Custody Review

Name_________________________ Alien Number______________ COC____________
Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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Custody Decision Release          Continue Custody


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                           PRE-Transfer Custody Review

Name_________________________ Alien Number______________ COC____________
Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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Custody Decision Release          Continue Custody


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                           PRE-Transfer Custody Review

Name_________________________ Alien Number_           _______ COC____________
Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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                           PRE-Transfer Custody Review

Name_________________________ Alien Number_           _______ COC____________
Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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                           PRE-Transfer Custody Review

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Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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                           PRE-Transfer Custody Review

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Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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                           PRE-Transfer Custody Review

Name_________________________ Alien Number__          ________ COC____________
Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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Custody Decision Release          Continue Custody


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                           PRE-Transfer Custody Review

Name_________________________ Alien Number_           _______ COC____________
Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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Name_________________________ Alien Number_           _______ COC____________
Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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Custody Decision Release          Continue Custody


              A. Martin
Reviewed by__________________________________________
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Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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Custody Decision Release          Continue Custody


            A. Martin
Reviewed by__________________________________________
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                             PRE-Transfer Custody Review

     PEREZ-Vasquez, Edgar
Name_________________________ Alien Number_                              Guatemala
                                                             _______ COC____________
                 6/30/2020
Date of Transfer__________________                                6/30/2020
                                                   Date of Review__________________

                                   Detention Authority
    INA 235           INA 236(a)      INA 236(c)        INA 241         Other________

COVID 19 Risk Factors                Yes                No

Criminal History                     Yes                No


                                   Nature of Transfer

IAO Flight Staging
Hospital
Within Field Office
Out of Field Office
Other                                   Krome to GLADES
                               Comments__________________________________________
 Krome to GLADES
____________________________________________________________________________


Custody Decision Release             Continue Custody


            A Martin
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Name_________________________ Alien Number_           _______ COC____________
Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
____________________________________________________________________________


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                           PRE-Transfer Custody Review

Name_________________________ Alien Number_           _______ COC____________
Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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Name_________________________ Alien Number_           _______ COC____________
Date of Transfer__________________            Date of Review__________________

                               Detention Authority
        2              236              236               241

                                  Yes                No

                                  Yes                No


                                Nature of Transfer




                             Comments__________________________________________
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